       Case 1:21-cv-02130-CJN Document 69-1 Filed 02/16/23 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

                Plaintiffs,              No. 1:21-cv-02130-CJN

      v.

HERRING NETWORKS, INC., et al.,          Judge Carl J. Nichols

                Defendants.




                              EXHIBIT A
               Case 1:21-cv-02130-CJN Document 69-1 Filed 02/16/23 Page 2 of 4
                                                       Thursday, February 16, 2023 at 09:20:48 Central Standard Time


Subject: RE: [EXT] Re: US Dominion v. Herring Networks - 1:21-cv-02130-CJN; request for extension
Date: Wednesday, February 15, 2023 at 6:15:29 PM Central Standard Time
From: Kimrey, Blaine C.
To:      David Sillers, McCalmon, Brian K.
CC:      DusWn Pusch, Megan Meier, Ledebuhr, Brian W., Clark, Bryan, Koechley, Julia L., Park, Jeanah, Tom
         Clare



Dear Mr. Sillers:

I note you request this extension while opposing our request for extension on a Rule 16 conference and
discovery. As you know, the Dominion enDDes, AT&T Services, Inc., William Kennard, and Staple Street
Capital have not yet answered the counterclaims/third-party claim (which means that six parDes haven’t yet
answered and Local Rule 16.3 doesn’t yet apply). Please let us know whether you’ll reconsider that
opposiDon to our reasonable extension request, which is consistent with Local Rule 16.3.

Regardless, we won’t go Dt for tat on this, and we understand agreed-to extensions are par for the course in
liDgaDon, parDcularly liDgaDon as complex as this. We’ll thus consent to your extension request despite your
opposiDon to ours, provided that you aSach this email string to your noDce/moDon to the Court for the
extension and that you ﬁle that noDce/moDon no later than 2 p.m. Eastern tomorrow.

Also, I note I’ve placed numerous calls to your ﬁrm (i.e. Tom Clare, copied) that have gone unreturned over
the course of several months. I ask that you give me the courtesy of calling me back when I call you. I’ll
obviously do the same for you (but I note that no one from your ﬁrm has ever called me, including on this
current request by you for an extension).

Finally, why is Susman Godfrey not copied on this email? They’re co-counsel with you on this maSer. As
such, shouldn’t they be copied?

Kind regards,
Blaine

Blaine C. Kimrey, Shareholder
National class and direct litigation and Chair, Privacy, Cybersecurity & Media Practice Group, CIPP/US, CIPP/E, CIPM


VedderPrice
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Assistant: Deb Mullen +1 312 609 7583
web | email | oﬃces | biography


From: David Sillers <david@clarelocke.com>
Sent: Wednesday, February 15, 2023 4:34 PM
To: Kimrey, Blaine C. <bkimrey@vedderprice.com>; McCalmon, Brian K. <bmccalmon@vedderprice.com>
Cc: DusDn Pusch <dusDn@clarelocke.com>; Megan Meier <megan@clarelocke.com>; Ledebuhr, Brian W.
<bledebuhr@vedderprice.com>; Clark, Bryan <bclark@vedderprice.com>; Koechley, Julia L.
<jkoechley@vedderprice.com>
Subject: [EXT] Re: US Dominion v. Herring Networks - 1:21-cv-02130-CJN; request for extension



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Colleagues, I am checking in on the below – we would very much appreciate you not
opposing our motion for an extension. Let me know when you can, thanks.

Best,

DYS

David Sillers | Counsel
C L A R E L O C K E L L P
10 Prince Street | Alexandria, Virginia 22314
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at admin@clarelocke.com.


From: David Sillers <david@clarelocke.com>
Date: Tuesday, February 14, 2023 at 2:23 PM
To: bkimrey@vedderprice.com <bkimrey@vedderprice.com>, bmccalmon@vedderprice.com
<bmccalmon@vedderprice.com>
Cc: Dustin Pusch <dustin@clarelocke.com>, Megan Meier <megan@clarelocke.com>,
bledebuhr@vedderprice.com <bledebuhr@vedderprice.com>, bclark@vedderprice.com
<bclark@vedderprice.com>, jkoechley@vedderprice.com <jkoechley@vedderprice.com>
Subject: US Dominion v. Herring Networks - 1:21-cv-02130-CJN; request for extension

Dear Blaine and Brian,

US Dominion and Dominion Voting Systems intend move the Court to extend their
deadline to answer or otherwise respond to defendants’ counterclaims to April 4, 2023, to
match the deadline of the newly added counter-defendants.

We would very much appreciate if you would not oppose our motion; please let us know if
we can file the motion as unopposed.

Thanks very much.

Best,




                                                                                                                      Page 2 of 3
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Best,

DYS

David Sillers | Counsel
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